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 4
 5                       UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF CALIFORNIA
 7
                                      )       1:04-cv-5278 OWW DLB
 8   WAL-MART STORES, INC., A         )
     Delaware corporation and WAL-    )       MEMORANDUM DECISION AND
 9   MART REAL ESTATE BUSINESS TRUST, )       ORDER DENYING IN PART AND
     a Delaware statutory trust,      )       GRANTING IN PART SAVE MART
10                                    )       SUPERMARKETS’ REQUEST FOR
                    Plaintiffs,       )       RECONSIDERATION OF
11                                    )       MAGISTRATE JUDGE’S RULING
          v.                          )       PURSUANT TO LOCAL RULE
12                                    )       72-303.
     CITY OF TURLOCK; TURLOCK CITY    )
13   COUNCIL; and DOES 1 THROUGH 10, )
     inclusive,                       )
14                                    )
                                      )
15                  Defendants.       )
                                      )
16   ________________________________ )
17
18                             I.    INTRODUCTION
19
20        Save Mart Supermarkets (“Save Mart”), a non-party, moves for
21   reconsideration of the magistrate judge’s order granting
22   Plaintiffs Wal-Mart Stores, Inc., and Wal-Mart Real Estate
23   Business Trust’s (“Wal-Mart”) Motion to Compel Compliance with
24   Subpoena Duces Tecum.    (Doc. 30, Mag. Order).     Wal-Mart opposes.
25   (Doc. 33, Pl.’s Opp.).    Oral argument was heard on
26   April 18, 2005, with counsel for all parties appearing.
27   Save Mart’s motion was granted in part and denied in part.         The
28   subpoena was modified.    A protective order is to be executed by

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 1   agreement of the parties.    (See Doc. 63, Proposed Second Amended
 2   Protective Order (“Proposed Protective Order”)).
 3
 4                 II.    PROCEDURAL AND FACTUAL BACKGROUND
 5
 6        Wal-Mart filed this action against Defendants City of
 7   Turlock (“City”) and Turlock City Council (“City Council”) on
 8   February 11, 2004.   (Doc. 1, Compl., filed Feb. 11, 2004).        Wal-
 9   Mart did not name as defendants individual Turlock City Council
10   members.   Wal-Mart brings six claims against the City and the
11   City Council (collectively, “Defendants”):       (1) Equal Protection
12   under the United States Constitution; (2) Equal Protection under
13   the California Constitution; (3) Commerce Clause;
14   (4) Unconstitutionally Vague and Uncertain; (5) Deprivation of
15   Civil Rights under 42 U.S.C. § 1983; (6) Declaratory Relief.1
16        Also on February, 11, 2004, Wal-Mart filed a Petition for
17   Writ of Mandate in the Superior Court for Stanislaus County,
18   pursuant to the California Environmental Quality Act.        (See Doc.
19   40, Pl.’s Opp. 9).   On April 30, 2004, during the course of the
20   state court proceedings, the City lodged an administrative record
21   relating to the petition to the Stanislaus County Superior Court.
22   (Id.).
23        Wal-Mart’s claims in this action arise out of an ordinance
24
25        1
            As part of its claim for Declaratory Relief, Wal-Mart
26   seeks a declaration that the Ordinance at issue is null and void
     on the grounds that it (a) violates the equal protection clauses
27   of the United States and California constitutions; (b) violates
     the Commerce Clause of the United States Constitution; and (c) is
28   unconstitutionally vague and uncertain. (Doc. 1, Compl. ¶ 59).

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 1   passed by the City Council on January 13, 2004 (“Ordinance”),
 2   which prohibits stores with over 100,000 square feet of sales
 3   floor area, of which more than five percent (5%) of the sales
 4   floor area is devoted to the sale of nontaxable goods such as
 5   groceries, from opening in the City of Turlock.       (Doc. 32, Save
 6   Mart’s Mem. 2-3).    While Wal-Mart currently operates a store in
 7   the City of Turlock, the Ordinance effectively prevents Wal-Mart
 8   from opening a larger “Superstore” in the City of Turlock.
 9        On July 30, 2004, Wal-Mart served Save Mart, a third party,
10   with a Deposition Subpeona Duces Tecum (“the Subpoena”) for the
11   production of documents pursuant to Fed. R. Civ. P. 45.        (See
12   Doc. 14, Kinsey Decl. in Support of Motion to Compel, Ex. B
13   Subpoena).   The Subpoena contained sixty-seven (67) separate
14   document requests.   Save Mart objected to the Subpoena and
15   refused to produce the documents.      Wal-Mart moved to compel
16   production of the documents.     (Doc. 12, Pl.’s Motion to Compel).
17        In the Subpoena, Wal-Mart generally requested information
18   and documents regarding communications between Save Mart and City
19   staff, City Council members, and City officials, as well as
20   communications between Save Mart and third parties, including
21   other grocers and the United Food and Commercial Workers Union.2
22   Wal-Mart specifically requested communications relating to:
23   Wal-Mart; any Wal-Mart store in the City of Turlock; any Wal-Mart
24   Supercenter in the city of Turlock; the Turlock “Big Box”
25
26
          2
27          The other grocers included Raley’s, Inc.; Safeway, Inc.;
     and/or Richland Markets. Individual agents of each of these
28   entities are also listed in the requests.

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 1   Ordinance; or any “Big Box” Ordinance.3      (See Doc. 14, J. Kinsey
 2   Decl. in Support of Mot. to Compel, Ex. B Subpeona).
 3        Wal-Mart also requested information, documents, and
 4   communications relating to a purported “closed door” August 22,
 5   2003, meeting attended by both Turlock City Council members and
 6   other City officials, including the mayor, and by representatives
 7   of Save Mart and other California grocers.4      During oral
 8   argument, Wal-Mart stated that at the meeting, the Turlock City
 9   Council members met with the grocers and the Union
10   representatives individually for hour-long intervals.        Wal-Mart
11   contends that the meeting caused the City to withdraw its support
12   for a Wal-Mart Supercenter and thereafter enact the Ordinance,
13   which completely prohibits Wal-Mart from building its planned
14   Supercenter within the City.
15        The parties agree that the discovery requested in this case
16   relates only to the commerce clause claim.       The commerce clause
17   claim was the only claim addressed by the magistrate judge.         In
18   its commerce clause claim, Wal-Mart alleges that the Ordinance
19
20        3
            “Big Box Ordinance” is defined as follows by the Subpoena:
     “any past, existing, or future ordinance, regulation,
21   legislation, or rule of general applicability placing limitations
22   or prohibitions on the size or merchandise mix of large-scale
     retailers including, without limitation, the January 13, 2004,
23   ordinance enacted by the City of Turlock.” (Subpoena, Addendum
     A, 1).
24
          4
            Representatives from the following entities were also,
25   according to Wal-Mart, present at the meeting: Safeway, Inc.;
26   Raley’s Supermarkets; Richland markets; United Food and
     Commercial Workers Union, Local 588. (Doc. 40, Pl.’s Opp. 3-4).
27   City officials present included the Turlock City Mayor; the
     Director of Community Development for the City; Planning Manager
28   for the City; and the City Manager. (Id.).

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 1   has the effect of purposefully discriminating against out-of-
 2   state retailers, such as Wal-Mart, in favor of in-state
 3   retailers, such as Save Mart.     (Id. at ¶ 46).    Even though the
 4   parties did not consider Wal-Mart’s other claims, the discovery
 5   requested here may be relevant to those claims as well.
 6   Wal-Mart’s equal protection claim (under both the United States
 7   and California Constitutions) is that, under the Ordinance, other
 8   similarly-situated large-scale grocers are permitted to operate
 9   in the City, while Wal-Mart is not.      (Id. at ¶¶ 28-40).      Wal-
10   Mart’s civil rights claim appears to be a claim of deprivation of
11   economic rights to develop its real property under the Civil
12   Rights Act.   (Id. at ¶¶ 53-6). Deprivation an identifiable,
13   protectable economic interest by unconstitutional means under
14   color of state law can give rise to a civil rights claim.
15   See 42 U.S.C. § 1983.
16        On January 14, 2005, the magistrate judge heard oral
17   argument regarding the motion to compel.      (See Doc. 27, Minutes).
18   On January 28, 2005, the magistrate judge granted in part Wal-
19   Mart’s Motion to Compel.    (Doc. 30, Mag. Order 6).      The
20   magistrate judge ordered Save Mart to produce the following
21   documents:
22        [D]ocuments regarding or relating to communications or
          meetings, or intended or anticipated communications or
23        meetings with the City [of Turlock] after August 22, 2002,
          by Save Mart or any other person or entity relating to the
24        Big Box Ordinance, Wal-Mart or Wal Mart’s Supercenter.
25   (Doc. 30, Mag. Order 6).
26        Save Mart refused to comply with the magistrate judge’s
27   January 28, 2005, Order, and moved for reconsideration.         (Doc.
28   25, Save Mart’s Mem., filed February 25, 2005).       Wal-Mart

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 1   opposed.5    (Doc. 40, Pl.’s Opp. Mar. 7, 2005).     Save Mart
 2   replied.     (Doc. 46, Save Mart’s Reply, filed March 21, 2005).
 3        Oral argument was heard on the objections April 18, 2005.
 4   Natalie M. Weber, Esq., appeared on behalf of Save Mart.
 5   Benjamin P. Fay, Esq., appeared on behalf of Defendants the
 6   City of Turlock and Turlock City Council.      William C. Hahesy,
 7   Esq., and Jon P. Kinsey, Esq., appeared on behalf of Wal-Mart.
 8   The Subpoena was modified.      Counsel were ordered to submit a
 9   proposed order that reflected the rulings modifying the subpoena.
10        On May 5, 2005, counsel for all parties jointly submitted a
11   proposed modified order.     (Doc. 62, Proposed Order Denying Save
12   Mart’s Request for Reconsideration).      The parties also jointly
13   submitted a Proposed Second Amended Protective Order (Doc. 63,
14   Proposed Order).
15
16                            III.    LEGAL STANDARD
17
          Pursuant to Local Rule 72-303(f), a district court applies
18
     the following standard in reconsidering a magistrate court’s
19
     decision:
20
              The standard that the assigned Judge shall use in all
21            such requests is the “clearly erroneous or contrary to
              law” standard set forth in 28 U.S.C. § 636(b)(1)(A).
22            See Fed. R. Civ. P. 72(a).
23        Section 636(b)(1)(A) sets forth the standard of review as
24   follows:
25            Notwithstanding any provision of law to the contrary
26
          5
27          Wal-Mart filed its original opposition on March 4, 2005.
     (Doc. 37). Wal-Mart filed an “Amended Opposition” on March 7,
28   2005. (Doc. 40).

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 1             . . . a judge may designate a magistrate [judge] to
              hear and determine any pretrial matter pending before
 2            the court, except a motion for injunctive relief, for
              judgment on the pleadings, for summary judgment, to
 3            dismiss or quash an indictment or information made by
              the defendant, to suppress evidence in a criminal case,
 4            to dismiss or to permit maintenance of a class action,
              to dismiss for failure to state a claim upon which
 5            relief can be granted, and to involuntarily dismiss an
              action.   A judge of the court may reconsider any
 6            pretrial matter under this subparagraph (A) where it
              has been shown that the magistrate judge’s order is
 7            clearly erroneous or contrary to law.
 8   (emphasis added).6
 9        Fed. R. Civ. P. 26(b)(1) is the applicable standard for
10   discovery, and provides that “[p]arties may obtain discovery
11   regarding any matter, not privileged, that is relevant to the
12   claim or defense of any party....”
13
14                             IV.   LEGAL ANALYSIS
15
16        Save Mart argues that the magistrate judge’s order was
17   incorrectly decided for the following reasons: (1) the magistrate
18   judge erred in holding that no privileges apply, including the
19   First Amendment associational privilege, the privacy privilege,
20   and the deliberative process privilege; (2) the magistrate judge
21   erred in not balancing Save Mart’s purported First Amendment and
22   privacy interests against Wal-Mart’s need for the requested
23   information; (3) the magistrate judge’s order is overbroad; and
24
25        6
            Fed. R. Civ. P. 72(a) also sets forth the standard for a
26   district court’s review of a magistrate judge’s order: “The
     district judge to whom the case is assigned shall consider [a
27   party’s] objections and shall modify or set aside any portion of
     the magistrate judge’s order found to be clearly erroneous or
28   contrary to law.” Id. (emphasis added).

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 1   (4) the magistrate judge erred in refusing to consider the merits
 2   of Wal-Mart’s Commerce Clause claim.      Save Mart also argues that
 3   the magistrate judge’s order fails to properly protect the
 4   documents Save Mart was ordered to produce.       Save Mart requests a
 5   protective order be entered and also requests in camera review
 6   for privileged and otherwise “protected” documents.        Save Mart
 7   makes no argument that there is newly discovered evidence or a
 8   change in the law.   Wal-Mart opposes Save Mart’s motion, and also
 9   argues that Save Mart’s motion was not timely filed.
10
11        A.   Whether Save Mart’s Motion for Reconsideration was
               Timely Filed.
12
13        Wal-Mart argues in its opposition that Save Mart’s motion
14   was not timely filed.    Save Mart maintains that its motion was
15   timely filed.   The magistrate judge’s order issued on
16   January 28, 2005, and was served on counsel for Plaintiff and
17   Defendant by the clerk of court via e-mail on the same day.
18   Save Mart was not served electronically by the clerk.        Instead,
19   counsel for Wal-Mart served Save Mart with the magistrate judge’s
20   order via facsimile and overnight courier on February 7, 2005.
21   (Doc. 31, Notice of Service).     Save Mart filed and served its
22   Motion for Reconsideration on February 25, 2005.
23        Fed. R. Civ. P. 72(a) requires a party to serve and file
24   objections to a magistrate judge’s order within 10 days of being
25   served with the order:
26        Within 10 days after being served with a copy of the
          magistrate judge’s order, a party may serve and file
27        objections to the order; a party may not thereafter assign
          as error a defect in the magistrate judge’s order to which
28        objection was not timely made.

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 1   Id.    Local Rule 72-303(a), likewise provides that “[r]ulings by
 2   Magistrate Judges shall be final if no reconsideration thereof is
 3   sought from the Court within ten (10) court days calculated from
 4   the date of service of the ruling on the parties, see Fed. R.
 5   Civ. P. 6(a), (e); Fed. R. Crim. P. 45(a),(d), unless a different
 6   time is prescribed by the Magistrate Judge or the Judge.”7
 7          Save Mart’s motion for reconsideration was timely filed.
 8   Wal-Mart sent Save Mart the magistrate judge’s order via
 9   facsimile and overnight courier on February 7, 2005.           Save Mart
10   is correct in that service by facsimile and overnight courier is
11   not technically proper service under Fed. R. Civ. P. 5.           Rule 5
12   allows service by means other than United States Mail, including
13   electronic means, but only if the party to be served consented in
14   writing to such service.       There is no evidence that Save Mart
15   consented in writing to service by facsimile or overnight
16   courier.
17          Assuming that Save Mart did so consent and was properly
18   served with the order on February 7, 2005, Save Mart’s filing of
19   the motion for reconsideration was nevertheless timely.           When the
20   prescribed period is less than eleven days, then Saturdays,
21   Sundays, and legal holidays are excluded.         Fed. R. Civ. P. 6(a);
22   see also Local Rule 6-136(b).        Legal holidays include federal
23   holidays listed in Rule 6(a) and any holidays designated by the
24   state in which the district court sits.         California recognized
25   both February 11, 2005, and February 21, 2005, as state holidays.
26
27
            7
            No different period of time was prescribed by the
28   magistrate judge in his order or by the district judge.

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 1   See Cal. Gov. Code §§ 6700(d), (e).      February 21, 2005, was also
 2   recognized as a federal holiday (Washington’s Birthday).         Also,
 3   Fed. R. Civ. P. 6(e) provides for 3 additional days to be added
 4   to the prescribed period when notice is served on the party by
 5   means other than in-person delivery.
 6        Save Mart had thirteen court days from February 7, 2005, to
 7   file and serve its objections.     Thirteen days from
 8   February 7, 2005, excluding weekends and holidays, is February
 9   26, 2005, a Saturday.    When the last day of a period falls on a
10   weekend day, such as Saturday, it is not included and the period
11   runs from until the end of the next day that is not a weekend day
12   or legal holiday.    Fed. R. Civ. P. 6(e).     In this case, that date
13   was Monday, February 28, 2005.     Because Save Mart filed its
14   motion on Friday, February 25, 2005, its motion was timely filed.
15   Save Mart’s objections to the magistrate judge’s order are not
16   time-barred.
17
18        B.   Whether the Requested Documents are Protected by
               Privilege.
19
20        Save Mart argues the requested documents are privileged
21   because (1) they are related to protected associational
22   activities under the First Amendment; (2) Save Mart has a
23   protectable privacy right in the requested documents; and (3) the
24   documents are protected by the deliberative process privilege.
25        As a preliminary matter, Save Mart offers no factual basis
26   for its privilege arguments.     Save Mart fails to provide a
27   description of the nature of the documents to be produced, as is
28   required by Fed. R. Civ. P. 45(d)(2), and instead provides

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 1   conclusory, blanket assertions of privilege over broad categories
 2   of documents, which is not allowed or acceptable under the
 3   Federal Rules of Civil Procedure.       Id.; see also Diamond State
 4   Ins. Co. v. Rebel Oil Col, Inc., 157 F.R.D. 691, 697-8 (D. Nev.
 5   1994) (citing In re Grand Jury Investigation, 974 F.2d 1068, 1070
 6   (9th Cir. 1992)).
 7
 8              1.     Whether the Requested Documents Are Protected by
                       the First Amendment Expressive Association
 9                     Privilege.
10        The magistrate judge found that “the documents requested are
11   not related to ‘protected associational activities’ of Save Mart
12   thereby implicating the First Amendment.”       (Doc. 30, Mag. Order
13   5-6).   Save Mart argues that the magistrate judge erred in this
14   finding because the documents relate to Save Mart’s purported
15   associational activities that are protected by the First
16   Amendment.
17        The First Amendment does not explicitly provide for freedom
18   of association.     U.S. CONST . amend. I (“Congress shall make no
19   law respecting an establishment of religion, or prohibiting the
20   free exercise thereof; or abridging the freedom of speech, or of
21   the press; or the right of the people peaceably to assemble, and
22   to petition the Government for a redress of grievances.”).
23   However, a freedom to associate has long been recognized as an
24   implicit aspect of the freedom of speech protected by the First
25   Amendment.      See I.D.K., Inc. v. Clark County, 836 F.2d 1185, 1199
26   (9th Cir. 1988); NAACP v. Alabama, 357 U.S. 449, 462-3 (1958).
27   The right of association can, under some circumstances, protect
28   against the discovery of information or documents by the

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 1   government.   Id.; see also Int’l Action Ctr. v. United States,
 2   207 F.R.D. 1, 2-4 (D.D.C. 2002).        For example, the associational
 3   privilege can protect against discovery of membership lists of
 4   civil rights organizations or political parties.          See id.
 5        The party from whom discovery is sought has the burden to
 6   establish an associational privilege exists.        Id.   That party
 7   must show that disclosure of the information sought would induce
 8   members to withdraw from the organization, or dissuade others
 9   from joining the organization, because they fear that exposure of
10   association with the organization will lead to threats,
11   harassment, or reprisal.     Id.   If the party claiming the
12   privilege succeeds in meeting this burden, the burden then shifts
13   to the government to show it has an interest in the information
14   that outweighs the impingement on the associational right.
15        Save Mart’s claim of associational privilege fails.            First,
16   Save Mart cannot assert an infringement of a constitutional right
17   against a private party such as Wal-Mart unless it can show that
18   the private party’s infringement somehow constitutes state
19   action.    George v. Pacific-CSC Work Furlough, 91 F.3d 1227, 1229
20   (9th Cir. 1996).   None of the cases Save Mart cites hold that the
21   associational privilege protects against discovery by a private
22   party.    Sweezy v. New Hampshire, 354 U.S. 234 (1957); Buckley v.
23   Valeo, 424 U.S. 1, 14 (1976); White v. Lee, 227 F.3d 1214, 1227
24   (9th Cir. 2000); Roberts v. United States Jaycees, 468 U.S. 609,
25   622 (1984); Healy v. James, 408 U.S. 169, 181 (1972); Britt v.
26   Super. Ct., 20 Cal.3d 844 (1978).       Instead, those cases hold that
27   individuals or entities are protected against compelled
28   production of information to the government or a governmental

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 1   entity.
 2        Second, Save Mart has not identified the beliefs, views, or
 3   associations it seeks to protect.       Save Mart makes only vague
 4   references to its “communications with third parties regarding
 5   this important political issue.”        (Doc. 32, Save Mart’s Mem. 5).
 6   Save Mart is a business competitor of Wal-Mart seeking to prevent
 7   the entry of a “superstore” into the Turlock market based on
 8   perceived adverse business consequences arising from enhanced
 9   competition.   Conclusory assertions of unspecified expressive
10   association are not protectable.        For a group to be protected by
11   the First Amendment’s expressive association right, it must
12   engage in “expressive association,” which constitutes “some form
13   of expression, whether it be public or private.”8        Boy Scouts of
14
          8
15          The United States Supreme Court has recognized two types
     of associational privileges:
16
          Our decisions have referred to constitutionally protected
17        “freedom of association” in two distinct senses. In one
18        line of decisions, the Court has concluded that choices to
          enter into and maintain certain intimate human relationships
19        must be secured against undue intrusion by the State because
          of the role of such relationships in safeguarding the
20        individual freedom that is central to our constitutional
          scheme. In this respect, freedom of association receives
21        protection as a fundamental element of personal liberty. In
22        another set of decisions, the Court has recognized a right
          to associate for the purpose of engaging in those activities
23        protected by the First Amendment -- speech, assembly,
          petition for the redress of grievances, and the exercise of
24        religion.
25   Roberts, 468 U.S. at 617-8. The privilege claimed here seems to
26   be the latter, considering Save Mart’s vague references to its
     “communications with third parties regarding this important
27   political issue.” (Doc. 32, Save Mart’s Mem. 5). Save Mart does
     not appear to be claiming a right to maintain “intimate human
28   relationships.” Instead, Save Mart seems to claim a right to

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 1   Amer. v. Dale, 530 U.S. 640, 648 (2000); see also Roberts, 468
 2   U.S. at 617-8; City of Dallas v. Stanglin, 490 U.S. 19, 25
 3   (1989).   While expressive association is “not reserved for
 4   advocacy groups,” there must be “some form of expression” for the
 5   associative right to exist.     Dale, 530 U.S. at 648.     Under a
 6   charitable interpretation, Save Mart suggests its expressive
 7   association is its opposition to the Turlock Wal-Mart
 8   Supercenter, which is shared with various unidentified “third
 9   parties,” and expressed in a political forum before the City
10   Council of Turlock.    However, even if opposition to the Wal-Mart
11   Supercenter is “expression,” Save Mart cites no law supporting
12   the expressive associational rights of corporations.
13        Third, even if Save Mart could establish that it, as a
14   corporation, engages in some kind of expressive association with
15   others, the notion that the substance of communications regarding
16   the activities, meetings, and communications of a governing
17   representative body would lead to threats, harassment, or
18   reprisal is beyond unreasonable.        Not only does Save Mart not
19   identify any persons or entities with whom it currently
20   associates, Save Mart also does not identify any persons or
21   entities who would be dissuaded from associating with it if the
22   information (whatever it may be) were disclosed.
23        Save Mart fails to explain how disclosure of its views would
24   dissuade others from associating with Save Mart for fear of
25   threats, harassment, or reprisal.        The only evidence Save Mart
26
27
     associate for the purpose of engaging in activities protected by
28   the First Amendment.

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 1   offers regarding the “chilling effect” that would result from the
 2   production of such documents is a comment by a Wal-Mart developer
 3   (whom Wal-Mart contends was not authorized to speak on Wal-Mart’s
 4   behalf) that was published in a newspaper.       Lee Jamieson is
 5   quoted in a Bakersfield newspaper as having purportedly stated,
 6   “When Mr. Herum’s company [i.e., Save Mart] goes to do another
 7   project, payback is going to be a bitch.”       (See Doc. 40, Pl.’s
 8   Opp. 17 n. 19).    This statement does not establish the requisite
 9   “chilling” on Save Mart’s purported associational activities.
10        Save Mart has cited and quoted from numerous First Amendment
11   cases, and has propounded First Amendment rhetoric throughout its
12   brief.   Save Mart’s attempt to analogize itself to members of
13   political parties, civil rights organizations, and professional
14   associations fails.    Save Mart’s arguments are based on a
15   misperception of the purpose of the associational privilege -- to
16   protect against infringement of First Amendment rights by the
17   state.   Save Mart has not shown how its communications with or
18   about the City regarding Wal-Mart or the Ordinance are
19   protectable by an associational privilege.       The dispute here is a
20   straightforward one between business competitors fighting over
21   plaintiff’s entry into a local market.
22        The magistrate judge’s order are not clearly erroneous.
23   Save Mart’s request for reconsideration of the magistrate judge’s
24   finding of no associational privilege is DENIED.
25
26              2.     Whether Save Mart has a Protectable Privacy
                       Interest in the Requested Documents.
27
28        The magistrate judge found that Save Mart “failed to

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 1   identify a privacy interest warranting protection from
 2   disclosure.”     (Doc. 30, Mag. Order 5).      Save Mart argues that the
 3   magistrate judge erred in this finding, but has not offered
 4   factual support for its blanket contention that “the case law
 5   cited by Save Mart...demonstrates that the Magistrate Judge’s
 6   Order is clearly erroneous and contrary to law.”          (Doc. 32, Save
 7   Mart’s Mem. 6).
 8          None of the cases Save Mart cites recognize a privacy
 9   privilege that protects broad categories of a private
10   corporation’s documents from production by another private party.
11   United States v. Morton Salt Co., 338 U.S. 632 (1950); United
12   States v. Hubbard, 650 F.2d 293, 305-7 (D.C. Cir. 1981); Local
13   174, Int’l Brotherhood of Teamsters, Chauffeurs, Warehousemen, &
14   Helpers of Amer. v. United States, 240 F.2d 387, 391 (9th Cir.
15   1956); Civil Aeronautics Bd. v. United Airlines, Inc., 542 F.2d
16   394, 399 (7th Cir. 1976).       Wal-Mart is a private party.      The
17   cases cited by Save Mart address the extent to which the Fourth
18   Amendment protects a corporation from the investigatory power of
19   the government.     These cases have no application here.
20   Furthermore, Save Mart has not identified the privacy interest it
21   seeks to protect.
22          There is no basis upon which to overturn the magistrate
23   judge’s order on privacy grounds.         Save Mart’s request for
24   reconsideration of the magistrate judge’s finding of no privacy
25   privilege is DENIED.
26   //
27   //
28   //

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 1             3.      Whether the Requested Documents Are Protected by
                       the Deliberative Process Privilege.
 2
 3        The magistrate judge found that “[t]he deliberative process
 4   privilege is...inapplicable in that this privilege only protects
 5   the decision making processes of government agencies and
 6   therefore must be invoked by the City.       Assembly of the State of
 7   Cal. v. United States Dept. of Commerce, 968 F.2d 916, 920 (9th
 8   Cir. 1992).”     (Doc. 30, Mag. Order 6).    Save Mart argues that the
 9   magistrate judge erred in this finding because the City has in
10   fact invoked the deliberative process privilege.9
11        What Save Mart disingenuously omits from its analysis,
12   however, is that the deliberative process privilege can only be
13   invoked by the government or governmental entities.        United
14   States v. Rozet, 183 F.R.D. 662, 665 (N.D. Cal. 1998) (citing
15   United States v. Reynolds, 345 U.S. 1, 7 (1953)).        The privilege
16   does not protect private corporations such as Save Mart.         See id.
17   A private business has no deliberative process privilege.
18        “The deliberative process privilege is based on the
19   perceived need to encourage candor within the decision-making
20   process by protecting predecisional communications from
21   disclosure.”10    Id.   Furthermore, “[i]ts purpose is to allow
22
          9
23          Save Mart notes that the City filed a joinder to Save
     Mart’s Opposition to Wal-Mart’s Motion to Compel, wherein the
24   City states “the City hereby asserts the deliberative process
     privilege as outlined and argued in Save Mart’s opposition
25   brief.” (Doc. 32, Save Mart’s Mem. 8).
26        10
            Other purposes of the deliberative process privilege
27   include:

28        to insure that subordinates within an agency will feel free

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 1   agencies freely to explore possibilities, engage in internal
 2   debates, or play devil’s advocate without fear of public
 3   scrutiny.”     Assembly of the State of Cal., 968 F.2d at 920.
 4   “This privilege permits the government to withhold documents that
 5   reflect advisory opinions, recommendations and deliberations
 6   comprising part of a process by which government decisions and
 7   policies are formulated.”       Id.
 8          The deliberative process privilege does not protect
 9   communications between a government official and a private third
10   party.    Such communications are not, by definition, governmental
11   deliberations.     This means communications and information
12   exchanged among private parties and government representations
13   are not within the “deliberative process.”
14          There is no basis upon which to question the magistrate
15   judge’s order on deliberative process privilege grounds.
16   Save Mart’s request for reconsideration of the magistrate judge’s
17   finding of no deliberative process privilege is DENIED.
18   //
19   //
20   //
21
22          to provide the decision maker with their uninhibited
            opinions and recommendations without fear of later being
23          subject to public ridicule or criticism; to protect against
            premature disclosure of proposed policies before they have
24          been finally formulated or adopted; and to protect against
            confusing the issues and misleading the public by
25          dissemination of documents suggesting reasons and rationales
26          for a course of action which were not in fact the ultimate
            reasons for the agency’s action.
27
     Rozet, 183 F.R.D. at 665 (quoting Coastal States Gas Corp. v.
28   Dept. of Energy, 617 F.2d 854 (D.C. Cir. 1980)).

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 1          C.   Whether the Magistrate Judge Erred Not Weighing Save
                 Mart’s Purported First Amendment or Privacy Interests
 2               Against Wal-Mart’s Need for Discovery.
 3          Save Mart argues that even if there is no associational
 4   activity or privacy privilege, the magistrate judge erred in not
 5   weighing Save Mart’s “First Amendment and privacy interests”
 6   against Wal-Mart’s need for the requested information. (Doc. 32,
 7   Save Mart’s Mem. 9 (“Even if the requested information is not
 8   protected by a privilege per se, the existence of strong First
 9   Amendment and privacy interests warrant consideration.”)). Save
10   Mart’s argument is without merit.
11          Save Mart cites three cases to support its argument.         Unlike
12   the associational and privacy privilege cases discussed above,
13   the issue in these cases involves discovery of information by
14   private parties, rather than by the government.          Nevertheless,
15   these cases are distinguishable and do not apply here.
16          The court in Marrese v. Amer. Academy of Orthopeadic
17   Surgeons, 726 F.2d 1150 (7th Cir. 1984), rev’d on other grounds,
18   470 U.S. 373, held that the plaintiffs’ discovery request was
19   impermissibly overbroad where it requested all membership
20   applications for a ten-year period from the defendant, a private
21   surgeons’ professional association.        The plaintiff surgeons, who
22   made the request, were challenging their denial of membership in
23   the defendant association.       The court held the applications were
24   not protectable by a First Amendment privilege, but found a
25   privacy interest in the applications, discovery of which the
26   district judge should have approached in a more reserved manner,
27   //
28   //

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 1   including but not limited to the use of in camera review.11
 2        Similarly, the court in In re Sealed Case (Medical Records),
 3   381 F.3d 1205, 1217-8 (D.C. Cir. 2004), found that all of an
 4   individual’s medical records were not absolutely protected by a
 5   psychotherapist privilege.     Nevertheless, the medical records
 6   were sufficiently private to be protected from unconditional
 7   discovery.    In that case, the plaintiffs sought discovery of the
 8   complete medical file of a non-party disabled group home
 9   resident.    The court found that the district judge’s discovery
10   order inappropriately ordered the production of the co-resident’s
11
12
          11
               Judge Posner wrote the majority opinion in Marrese:
13
14               [B]arring the plaintiffs or their counsel from all
                 access to the membership files would probably make it
15               impossible for them to prove their antitrust case. But
                 there were various devices that the district judge
16               could have used to reconcile the parties’ competing
                 needs. For example, he could have examined the
17               membership files himself in camera, a procedure
18               described by the Supreme Court in a related context as
                 “a relatively costless and eminently worthwhile method
19               to insure that the balance between petitioners’ claims
                 of irrelevance and privilege and plaintiffs’ asserted
20               need for documents is correctly struck.
21   726 F.2d at 1160 (citation omitted).
22
          In reversing the Seventh Circuit’s opinion, the Supreme
23   Court did not address the discovery issue. Marrese v. Amer.
     Acad. of Orthopaedic Surgeons, 470 U.S. 373, 379 (1985) (“We
24   granted certiorari limited to the question whether the Court of
     Appeals correctly held that claim preclusion requires dismissal
25   of the federal antitrust action....”). The Supreme Court held
26   that the federal full faith and credit statute required that the
     federal court consider state law of claim preclusion in
27   determining whether state court judgment dismissing the surgeons’
     complaint barred subsequent federal antitrust claim which could
28   not have been raised in the state proceeding. Id. at 379-80.

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 1   entire medical file, “regardless of whether it was relevant to a
 2   claim or defense, regardless even of whether it was relevant to
 3   the subject matter of the case.”        Id. at 1216.   Save Mart fails
 4   to identify the documents sought, so it is impossible to
 5   determine whether they contain information that is as potentially
 6   sensitive as that contained in the medical file of a disabled
 7   group home resident.    The likelihood that corporate records of
 8   communications relating to the deliberations of a local
 9   government body are as sensitive as such medical records is
10   extremely small.     In re Sealed Case does not support Save Mart’s
11   position.
12        Save Mart also cites an observation from Justice Powell’s
13   concurrence in Herbert v. Lando, 441 U.S. 153, 176-7 (1979):
14   “The District Court must ensure that the values protected by the
15   First Amendment, though entitled to no constitutional privilege
16   in a case of this kind, are weighed carefully in striking a
17   proper balance.”    (Doc. 32, Save Mart’s Mem. 9).      Save Mart takes
18   the quote out of context.     The Herbert court held that a
19   newspaper had no absolute First Amendment privilege in its
20   editorial process.    At the outset of his concurrence, Justice
21   Powell states: “I write to emphasize the additional point that,
22   in supervising discovery in a libel suit by a public figure, a
23   district court has a duty to consider First Amendment interests
24   as well as the private interests of the plaintiff.”         Id. at 177-8
25   (emphasis added).    This case is not a libel suit against a
26   newspaper by a public figure, and Save Mart has made no showing
27   that the interests to be protected here resemble in any respect
28   those in Herbert.

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 1        In short, Save Mart has not yet identified substantive
 2   information deserving of protection that is in any way analogous
 3   to the personal information contained in the surgeons’
 4   applications in Marrese; highly sensitive medical information
 5   contained in the file of the mentally disabled third-party in the
 6   In re Sealed Case; or the editorial processes of the newspaper in
 7   Herbert.   There is no basis to conduct an in camera review based
 8   on privacy interests because Save Mart has not described the
 9   nature of the information or submitted any documents for review.
10   The magistrate judge’s order does not fail to balance First
11   Amendment or privacy interests against Wal-Mart’s need for
12   production, as no such interests were presented.
13        Save Mart’s request for reconsideration of the magistrate
14   judge’s order on the basis of failure to balance interests is
15   DENIED.    If Save Mart has documents it claims are privileges the
16   court will conduct an in camera review.
17
18        D.    Whether the Magistrate Judge’s Order is Overbroad.
19
          The magistrate judge’s order states:
20
          Save Mart is ORDERED to produce documents regarding or
21        relating to communications or meetings, or intended or
          anticipated communications or meetings with the City after
22        August 22, 2002, by Save Mart or any other person or entity
          relating to the Big Box Ordinance, Wal Mart or Wal Mart’s
23        Supercenter.
24   (Doc. 30, Mag. Order 6).     While this language is not altogether
25   clear, it can reasonably be interpreted to require production of
26   documents regarding or relating to actual or intended
27   communications or meetings with the City about the Ordinance,
28   Wal-Mart, the proposed Wal-Mart Supercenter, where the

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 1   communications or meetings took place between Save Mart and the
 2   City or between Save Mart and a third party.
 3        The standard for discoverable information under the Federal
 4   Rules of Civil Procedure is low.        Parties may obtain discovery
 5   information that may reasonably lead to the discovery of
 6   admissible evidence.    Fed. R. Civ. P. 26(b)(1) (“Relevant
 7   information need not be admissible at the trial if the discovery
 8   appears reasonably calculated to lead to the discovery of
 9   admissible evidence.”).
10        The parties contend that the information requested relates
11   to Wal-Mart’s commerce clause claim, and specifically to Wal-
12   Mart’s claim that the Ordinance is discriminatory in effect or
13   purpose.    All public input to the City of Turlock relating to the
14   Ordinance’s effect or purpose is relevant and discoverable.         Wal-
15   Mart is entitled to know what was communicated to the City
16   relating to the proposed Wal-Mart Supercenter and the Turlock
17   “big box” ordinance.    This information includes any documents
18   that may reflect what was or was intended to be communicated to
19   the City, including but not limited to communications with third
20   parties.    All such input could shed light on the overall basis
21   upon which the legislative judgement was made.        The public is
22   entitled to know all information that went into the legislative
23   decision.
24        During oral argument on April 18, 2005, the Court reviewed
25   each of the sixty-seven document requests from the original
26   subpoena.    The scope of information requested in the subpoena was
27   determined to be overbroad, and the language was narrowed.         (See
28   Doc. 62, Proposed Order).     The magistrate judge also found the

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 1   information contained in the requests to be overbroad, and
 2   modified the requests accordingly in the Order Granting in Part
 3   Plaintiff’s Motion to Compel Compliance with the Subpoena Duces
 4   Tecum (Doc. 30).      While unclear, the magistrate judge’s order is
 5   not clearly erroneous.       The magistrate judge’s order will not be
 6   overturned on these grounds.
 7           Save Mart also argues that the magistrate judge’s order is
 8   overbroad in that it “requires production of communications with
 9   the City rather than restricting production to communications
10   with members of the City Council, who constitute the decision
11   makers in this case.”       (Doc. 32, Save Mart’s Mem. 11).
12   Communications with city officials other than City Council
13   members could reasonably lead to the discovery of relevant,
14   admissible information.       See Fed. R. Civ. P. 26(b)(1).       The
15   magistrate judge’s order is not overbroad insofar as it requests
16   communications between Save Mart city officials other than City
17   Council members.
18           Save Mart also contends that the discovery requests are
19   cumulative in that the state administrative record relating to
20   the Petition for Writ of Mandate proceedings in Stanislaus County
21   Superior Court has already been produced to Wal-Mart.            However,
22   it is not clear that Save Mart produced all relevant documents
23   during the state court proceedings.         (See Doc. 40, Pl.’s Opp. 23-
24   4).     Wal-Mart’s requests are not cumulative on these grounds.
25           Save Mart also argues that the order is overbroad to the
26   extent that it requires the production of documents relating to
27   the time period after the ordinance was passed.           This argument
28   also fails.      The requested documents and information that date

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 1   from the time period after the Ordinance was passed reasonably
 2   relate to, among other things, the purpose of the Ordinance, the
 3   City’s alleged discriminatory intent, or other communications
 4   between Save Mart and the City that bear on further efforts to
 5   burden interstate competition and other issues relevant to the
 6   commerce clause claim.
 7        Finally, Save Mart objects to the time period in the
 8   magistrate judge’s order which goes back to August 22, 2002.
 9   Wal-Mart stated during oral argument that it did not acquire the
10   property in Turlock for the proposed Supercenter until “late
11   2002/early 2003.”    Wal-Mart began to conduct due diligence and
12   search for properties in late 2002.       Wal-Mart acknowledged that
13   its plans to build a Supercenter in Turlock were not widely-known
14   until the property was acquired.        The parties agreed during oral
15   argument to limit the relevant time period for the production to
16   January 1, 2003.
17        There is no basis upon which to overturn the magistrate
18   judge’s order on the grounds that it is overbroad.        Save Mart’s
19   request for reconsideration of the magistrate judge’s order on
20   the grounds that it is overbroad is DENIED.        The magistrate
21   judge’s order is modified as to time period.       The Subpoena is
22   modified as stated in Doc. 62 (Proposed Order).
23
24        E.   The Merits of Wal-Mart’s Commerce Clause Claim.
25        Save Mart contends that the magistrate judge erred in not
26   considering the merits of Wal-Mart’s commerce clause claim.
27   Save Mart is incorrect.    The magistrate judge’s discovery order
28   states:

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 1        Although Save Mart argues the Ordinance does nothing more
          than prohibit a particular mode of operation and therefore
 2        does not implicate the Commerce Clause, Wal-Mart’s claim is
          contrary. The Court will not resolve this issue, which goes
 3        to the merits of Wal-Mart’s claim, in a discovery motion.
          Specifically, Wal Mart claims that the Ordinance prohibits
 4        it, an out of state company, from opening “Discount
          Superstores” in the City. Wal Mart further claims that the
 5        Ordinance does not impose any prohibitions whatsoever on any
          California-based retailers, including the local retailers
 6        such as Save Mart.
 7   (Doc. 30, Mag. Order 4).     The magistrate judge also cited
 8   commerce clause law in the order:
 9        The Commerce Clause prohibits economic protectionism,
          regulatory measures designed to benefit in-state economic
10        interest by burdening out of state competitors. Wyoming v.
          Oklahoma, 502 U.S. 437, 454 (1992). A finding that state
11        legislation constitutes economic protectionism may be made
          on the basis of either discriminatory purpose or
12        discriminatory effect. Baccus Imps. v. Dias, 468 U.S. 263,
          270 (1984).
13
     (Id. at 4 n.6).
14
          Save Mart argues that Wal-Mart is not an “out-of-state”
15
     producer as a matter of law.     Save Mart also argues that Wal-Mart
16
     bases its status as an “out-of-state” business solely on the fact
17
     that it is incorporated in Delaware and its headquarters is in
18
     Arkansas.   Save Mart cites Exxon Corp. v. Governor of Maryland,
19
     437 U.S. 117, 127-8 (1978), which held that Exxon was not an “in-
20
     state” business for purposes of the commerce clause, even though
21
     it was incorporated in Maryland.        The Supreme Court looked to
22
     Exxon’s business operations within the state (instead of its
23
     state of incorporation), and reasoned that Exxon was not “in-
24
     state” because it did not operate any retail stores in Maryland.
25
          Wal-Mart responds that it is an out-of-state producer for
26
     the purpose of the Commerce Clause because no California retailer
27
     currently operates or plans to operate a “Discount Superstore” of
28

                                        26
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 1   the size and scope of those operated by Wal-Mart.          (Doc. 40,
 2   Pl.’s Opp. 27).     Wal-Mart cites Atlantic Prince, Ltd. v. Jorling,
 3   710 F. Supp. 893 (E.D.N.Y. 1989) in support.         That court held
 4   that a New York statute prohibiting the use of boats longer than
 5   ninety feet from fishing in New York waters violated the Commerce
 6   Clause because it was enacted to protect New York commercial
 7   fishermen from out-of-state competitors.         Id. at 894-5.    The
 8   court reasoned that the statute discriminated against New Jersey
 9   based fishermen, despite that the out-of-state fishermen could
10   avoid the effect of the statute by using boats 90-feet long or
11   less.
12          It is not correct to decide, on a discovery motion, whether
13   Wal-Mart is in fact an “out-of-state” producer.          Save Mart has
14   failed to show that Wal-Mart’s claim is meritless or frivolous.
15   Wal-Mart has at least a colorable claim that it is an out-of-
16   state business.
17          Likewise, Save Mart’s contention that the Ordinance in no
18   way implicates the Commerce Clause is mistaken.          As the
19   magistrate judge noted, state legislation may constitute economic
20   protectionism on the basis of discriminatory purpose or effect.
21   See Baccus Imps., 468 U.S. at 270.        Save Mart has not shown that
22   Wal-Mart’s claim that the Ordinance is discriminatory in effect
23   is frivolous or meritless.
24          There is no basis upon which to overturn the magistrate
25   judge’s order on the grounds that he failed to consider the
26   merits of Wal-Mart’s commerce clause claim.         Save Mart’s request
27   for reconsideration on that ground is DENIED.
28   //

                                          27
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 1        F.    Whether Save Mart Is Entitled to a Protective Order
                and/or in camera Review Relating to the Requested
 2              Documents.
 3        Save Mart argues that the magistrate judge’s order fails to
 4   adequately protect the requested documents.       Save Mart requests
 5   that if produced, a protective order be entered requiring that
 6   the documents first be reviewed by the district court in camera,
 7   and that they be labeled “Highly Confidential - Attorney’s Eyes
 8   Only.”    Save Mart identifies its purported “privacy interests” as
 9   a justification, and claims that it “identified specific facts
10   supporting its First Amendment privilege and privacy concerns,”
11   without identifying any such “specific facts” in its motion,
12   either in this section or the sections discussing Save Mart’s
13   purported privileges.    Instead, Save Mart cites page 9 of its
14   opposition brief to Wal-Mart’s Motion to Compel.        Page 9 of Save
15   Mart’s opposition contains only one sentence that is even
16   remotely related to a specific reason: “complying with the
17   Subpoena is incredibly unduly burdensome because the Subpoena
18   seeks documents that are not limited to the City of Turlock, but
19   which extend to any ‘Wal-Mart’ located anywhere in the country,
20   and ‘any Big Box Ordinance’ not limited to the City of Turlock.”
21   The magistrate judge limited Wal-Mart’s discovery requests
22   accordingly in his order.
23        The Court GRANTS Save Mart’s request for in camera review
24   for specific documents and as to which Save Mart can specifically
25   identify a privileges.    (See Doc. 63, Proposed Protective Order).
26   Save Mart’s request that its documents be produced subject to
27   protective order was agreed to at the hearing and is GRANTED.
28        On May 4, 2005, Save Mart submitted to the Court documents

                                        28
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 1   labeled “Save Mart In Camera 00001-00030.”       Save Mart claimed the
 2   documents are protected by the attorney-client privilege and the
 3   work product privilege.    The Court has reviewed the documents.
 4   All but one of the documents (“Save Mart In Camera 00001”) are
 5   not privileged.   The document labeled “Save Mart In Camera 00001”
 6   is protected by the attorney work product and attorney-client
 7   privilege and will be retained by the Court under seal.         Save
 8   Mart’s request to redact the name(s) of its counsel from the
 9   remaining documents is GRANTED.
10
11                              V.    CONCLUSION
12
13        For all the foregoing reasons, Save Mart’s request for
14        reconsideration of the magistrate judge’s January 28, 2005
15        order (Doc. 30) is DENIED.      The magistrate judge’s order is
16        modified as to time period as stated herein.        The Subpoena
17        is modified as stated in Doc. 62 (Proposed Order).
18        Save Mart’s request for a protective order is GRANTED.
19        Save Mart’s request for in camera review for privileged
20        documents is GRANTED.
21
22   SO ORDERED.
23   DATED: June 1, 2005.
24
25                                            /s/ OLIVER W. WANGER
26                                           ______________________________
27                                                  Oliver W. Wanger
                                             UNITED STATES DISTRICT JUDGE
28

                                        29
